             Case 6:18-bk-04858-CCJ         Doc 16      Filed 09/28/18     Page 1 of 2



                                        ORDERED.

     Dated: September 28, 2018




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                       www.flmb.uscourts.gov

IN RE:                                        )
                                              )
Matthew P Boos                                )       CASE # 6:18-bk-04858-CCJ
Kerri L Boos,                                 )       CHAPTER 7
                                              )
                Debtors.                      )

              ORDER AUTHORIZING RETENTION OF BK GLOBAL REAL
             ESTATE SERVICES AND KELLER WILLIAMS WINTER PARK

         THIS CASE came on for consideration without hearing on the Trustee’s Application to

Retain BK Global Real Estate Services and Keller Williams Winter Park to Market and Conduct

Short Sale Auction Pursuant to 11 U.S.C. §§327 and 328 (Doc. No. 15) filed on September 27,

2018. The Court concludes that BK Global Real Estate Services and Keller Williams Winter

Park do not hold or represent an interest adverse to the estate and are disinterested persons within

the meaning of Section 101(14) of the Bankruptcy Code. The Court further concludes that BK

Global Real Estate Services and Keller Williams Winter Park are qualified to represent the

Trustee and that the Court’s authorization of their employment is in the best interest of the estate.

Accordingly, it is
            Case 6:18-bk-04858-CCJ         Doc 16     Filed 09/28/18     Page 2 of 2



       ORDERED the Application is granted and the Court approves the retention of BK

Global Real Estate Services and Keller Williams Winter Park to sell real property located at 781

WHOOPING CRANE CT, SANFORD, FL 32771 Parcel ID 20-19-30-515-0000-6530. All

compensation authorized is subject to the provisions of Section 330 of the Bankruptcy Code.


Trustee, Richard B. Webber II, is directed to serve a copy of this Order on interested parties who
are non-CM/ECF users and file a proof of service within 3 days of entry of the Order.


 




                                                2 
 
